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                         UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA ,
12                                          NO. Cr. S-09-125 FCD
               Plaintiff,
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          v.                                MEMORANDUM AND ORDER
14
     SARTAJ CHAHAL, et al.,
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               Defendants.
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          This matter is before the court on defendant Sartaj Chahal’s
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     (“Chahal”) motion for a new trial.      The court heard oral argument
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     on the motion on September 19, 2011, and by this order now
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     renders its decision on the motion.
21
                                   BACKGROUND
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          Chahal moves for a new trial, arguing his conviction was
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     unlawfully obtained on tainted testimony, including:
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     (1) government witness Surinder Pal Singh’s (“Surinder”)
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     untruthful testimony about his methamphetamine use after his
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     arrest (perjured testimony which the government failed to
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     correct); (2) Surinder’s false testimony that he was not
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 1   receiving anything from the government in return for his
 2   testimony (which testimony was again not sufficiently corrected
 3   by the government); and (3) government witnesses Rajdeep Singh’s
 4   and Hardeep Singh’s incomplete testimony regarding their plea
 5   agreements.     Chahal alternatively argues he is entitled to a new
 6   trial based on a Brady violation by the government pertaining to
 7   the disclosure of Surinder’s positive drug test.           Brady v.
 8   Maryland, 373 U.S. 83, 87 (1963).
 9                                     STANDARD
10           Federal Rule of Criminal Procedure 33(a) provides in
11   relevant part:      “The court may vacate any judgment and grant a
12   new trial if the interest of justice so requires.”            The Ninth
13   Circuit has emphasized that a motion for new trial should only be
14   granted in exceptional cases in which the evidence preponderates
15   heavily against the verdict.        United States v. Rush, 749 F.2d
16   1369, 1371 (9th Cir. 1984).        The burden of justifying a new trial
17   rests with the defendant.        United States v. Shaffer, 789 F.2d
18   682, 687 (9th Cir. 1986).
19           Under Rule 33(b)(2), a defendant must file a motion for a
20   new trial “grounded on any reason other than newly discovered
21   evidence” within 14 days after the verdict or finding of guilt.
22   Here, the jury returned guilty verdicts against Chahal on April
23   20, 2010.     Chahal did not file the instant motion until July 11,
24   2011.    Thus, unless Chahal’s motion is truly “grounded” on “newly
25   discovered evidence,” his motion is untimely and the court lacks
26   jurisdiction to hear it.       United States v. Lara-Hernandez, 588
27   F.2d 272, 275 (9th Cir. 1978).        Any motion grounded on newly
28   discovered evidence may be filed within 3 years after the verdict

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 1   or finding of guilty.    Fed. R. Crim. P. 33(b)(1).
 2                                  ANALYSIS
 3        1.     Timeliness of Motion
 4        In response to the motion, the government first argues the
 5   motion should be denied because the at-issue evidence is not
 6   “newly discovered.”    Regarding Surinder’s positive drug test, the
 7   results were disclosed to the defense on April 21, 2010, the day
 8   after trial concluded.    The government argues that because the
 9   disclosure was made within the initial 14 day period prescribed
10   by the Rule, the evidence should not be deemed newly discovered.
11   Fed. R. Crim. P. 33(b)(2) (providing that “any motion for a new
12   trial grounded on any reason other than newly discovered evidence
13   must be filed within 14 days after the verdict or finding of
14   guilty”).   As to Surinder’s testimony regarding his plea
15   agreement, the government emphasizes that the testimony was given
16   during trial on April 13, 2010, and Surinder’s plea agreement and
17   Jenks statements were turned over to the defense prior to trial.
18   Similarly, witnesses Rajdeep and Hardeep Singh testified during
19   trial (on April 12, 13 and 14, 2010), and their plea agreements
20   and Jenks statements were turned over to the defense prior to
21   trial.
22        Evidence is considered “newly discovered” if it was
23   disclosed after the time of trial.      United States v. Kulczyk, 931
24   F.2d 542, 548 (9th Cir. 1991); United States v. Krasny, 607 F.2d
25   840, 843 (9th Cir. 1979).     Here, the above facts are not in
26   dispute.    Thus, as to Chahal’s arguments regarding Surinder,
27   Rajdeep and Hardeep’s plea agreement testimony, the motion is
28   untimely.   Said testimony occurred during trial and all relevant

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 1   information pertaining to their plea agreements was provided to
 2   the defense prior to trial.     Accordingly, the evidence is not
 3   newly discovered, and the court must deny Chahal’s motion for a
 4   new trial to the extent it raises issues pertaining these
 5   witnesses’ plea agreement testimony.      Because the motion was
 6   untimely filed on that issue, the court is without jurisdiction
 7   to hear it.   Lara-Hernandez, 588 F.2d at 275.
 8        However, as to the disclosure of Chahal’s positive drug
 9   test, the government received the results on April 19, 2010, a
10   day prior to the conclusion of trial.       The government did not
11   disclose the information to the defense until April 21, 2010--the
12   day after trial concluded on April 20.       As such, the disclosure
13   occurred after the time of trial (albeit by only one day), and
14   the court must therefore consider the evidence newly discovered.
15   The plain language of the Rule does not support any other
16   conclusion.   A 14 day period is prescribed for any motion not
17   grounded on newly discovered evidence.       The Rule does not define
18   “newly discovered evidence,” and it does not state, as the
19   government argues, that any evidence disclosed 14 days after
20   trial shall not be considered “newly discovered.”         Indeed, case
21   law interpreting Rule 33 has consistently held that “newly
22   discovered” means simply any evidence “discovered after the
23   trial.”   See e.g. Krasny, 607 F.2d at 843.      The government fails
24   to cite, nor is the court aware of, any case where evidence was
25   not treated as newly discovered because disclosed within 14 days
26   of trial.   Here, because the government disclosed the results of
27   Surinder’s drug test after the trial concluded, the evidence is
28   “newly discovered,” and pursuant to Rule 33(b)(1), Chahal had 3

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 1   years in which to bring a motion for a new trial based on that
 2   evidence.   The instant motion, filed approximately 15 months
 3   after trial, is timely.
 4        2.     Merits of Motion re: Surinder’s Positive Drug Test
 5        On the merits of Chahal’s motion, again the parties do not
 6   dispute the relevant facts.     On April 13, 2010, Surinder
 7   testified that he had not used any drugs since the time of his
 8   arrest.   Yet, on April 13, 2010, he provided a urine sample to
 9   Pretrial Services over the lunch hour which later tested positive
10   for methamphetamine, amphetamine and hydrocodone.         Chahal
11   concluded his trial testimony that afternoon.        The results of the
12   urine test were thereafter disclosed to the government on April
13   19, 2010, the day before the trial concluded on April 20.          The
14   government disclosed the results of the test to Chahal’s counsel
15   on April 21.
16        To prevail on a claim that the government failed to correct
17   testimony that it later learns is perjured, the defendant must
18   show that: (1) the testimony was actually false; (2) the
19   prosecution knew or should have known that the testimony was
20   actually false; and (3) the false testimony was material.
21   United States v. Zuno-Arce, 339 F.3d 886, 889 (9th Cir. 2003).
22   Here, Chahal’s motion fails as he cannot establish the second or
23   third elements of the test.
24        At the time of Surinder’s testimony on April 13, the
25   government did not know nor could it have known that Surinder’s
26   testimony was false.    It only first became aware of that fact on
27   April 19.   Moreover, even if the government had an obligation to
28   disclose the evidence on April 19, prior to the conclusion of

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 1   trial, Chahal cannot establish that the false testimony was
 2   “material.”    Materiality must be evaluated in the “context of the
 3   entire record.”    United States v. Agurs, 427 U.S. 97, 112 (1976).
 4   “If there is no reasonable doubt about guilt whether or not the
 5   additional evidence is considered, there is no justification for
 6   a new trial.”    Id.   On the other hand, if the verdict is already
 7   of questionable validity, additional evidence of relatively minor
 8   importance might be sufficient to create a reasonable doubt.”
 9   Id.
10         In this case, the additional evidence of Surinder’s positive
11   drug test could not have altered the result of the trial because
12   the government presented overwhelming evidence of Chahal’s guilt
13   on both counts of conspiracy to distribute and possess with
14   intent to distribute MDMA (21 U.S.C. §§ 841(a)(1), 846) and
15   possession with intent to distribute MDMA (21 U.S.C.
16   § 841(a)(1)), including:
17         (1)   Testimony from witnesses Lai Tai Saechao (“Saechao”),
18               Ramandeep Sandhu (“Sandhu”), and Rajdeep and Hardeep
19               Singh who all provided direct, inculpatory evidence of
20               Chahal’s leadership of the MDMA trafficking
21               conspiracy.1
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               For example, Rajdeep Singh testified he stored and
23   distributed MDMA for Chahal. After receiving MDMA from Chahal,
     Rajdeep testified he would then distribute 50,000 to 100,000 MDMA
24   pills to a DEA confidential source (Saechao) and other drug
     traffickers in the Eastern District of California and elsewhere.
25   Rajdeep testified he enlisted the help of Surinder and Hardeep to
     store and distribute MDMA in the Elk Grove area. Hardeep
26   testified about trips to Los Angeles and Tracy where he met with
     Chahal and delivered money to him derived from the MDMA sales.
27   Saechao testified that he regularly obtained large quantities of
     MDMA from Rajdeep, Surinder and Hardeep. On one occasion,
28   Saechao testified he met with Chahal and Rajdeep concerning an

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 1        (2)   These witnesses also provided independent corroboration
 2              of Surinder’s testimony because many of the
 3              conspiracy’s events were experienced by more than one
 4              member.   For example, Hardeep testified about multiple
 5              trips to drop drug money off to Chahal in Los Angeles
 6              and Tracy while traveling with Surinder.        Similarly,
 7              Rajdeep and Sandhu testified about Surinder’s
 8              involvement in assisting the distribution of Chahal's
 9              MDMA and the collection of the MDMA proceeds.
10        (3)   Also, Chahal’s own inculpatory words and conduct during
11              a recorded and surveilled meeting with Rajdeep on
12              January 20, 2009, provided additional damaging evidence
13              in support of Chahal’s convictions.       In this meeting,
14              Chahal told Rajdeep that he had spoken with the
15              Canadian MDMA suppliers and the suppliers believed
16              Chahal and Rajdeep owed them for the loss of 140,000
17              MDMA pills seized by the government in 2008.        Chahal
18              stated that the suppliers said he and Rajdeep could pay
19              back the drug debt in slow increments.       Chahal added
20              that there was more MDMA due to arrive in California at
21              the end of January.
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23
24   alleged dispute he had over the quality of the pills; Saechao
     testified that Chahal exercised authority to decide if Saechao
25   would receive a refund. Finally, Sandhu testified that he was a
     talented field hockey player when Chahal recruited him into the
26   world of drug trafficking. At Chaal’s urging, Sandhu agreed to
     distribute large quantities of MDMA for Chahal, sometimes picking
27   up shipments from Rajdeep and other times delivering shipments to
     Rajdeep, Surinder and Hardeep. Significantly, Sandhu also
28   testified to a number of drug dealings with Chahal in 2009, after
     the arrest of certain of the co-defendants in November 2008.

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 1        (4)   A federal search warrant at Chahal’s residence
 2              uncovered a large amount of currency2 consistent with
 3              drug trafficking proceeds.
 4        These overlapping layers of corroborating evidence diminish
 5   the importance of a positive drug test by Surinder.         See e.g.
 6   United States v. Gilbert, 668 F.2d 94 (2nd Cir. 1981)
 7   (recognizing that additional evidence tending to further impeach
 8   the credibility of a witness, whose character is already shown to
 9   be questionable, is not likely to alter the outcome of a trial
10   with overwhelming evidence of guilt).       Like in Gilbert, here, the
11   jury could have disbelieved Surinder’s testimony entirely3 and
12   nonetheless convicted Chahal on the basis of evidence from other
13   sources.
14        It is also noteworthy that in this case Chahal’s defense was
15   primarily a legal one--that he engaged in the charged drug
16   trafficking because he was acting under the authority of
17   government ICE agents (the so-called “public authority” defense).
18   Due to that defense, Chahal did not vigorously challenge the
19   testimony of the various cooperating co-defendants, including
20   Surinder, who testified against him.      Thus, Chahal’s argument
21   now, that Surinder’s positive drug test would have proved to be
22   critical impeachment evidence rings hollow.        At the time of
23   trial, in large part, Chahal chose to not challenge the factual
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25        2
               ($24,790 in $100s, $50s, and $20s hidden under the
26   bathroom sink in the master bedroom)
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27             Indeed, Surinder admitted to extensive past drug use
     and freely acknowledged his varied criminal acts, including his
28   significant participation in the drug conspiracy at issue in this
     case.

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 1   accounts of the government witnesses.       He cannot now, through a
 2   new trial motion, change the theory of his case.        See United
 3   States v. Olender, 338 F.3d 629, 636 (6th Cir. 2003) (“A party
 4   who desires to present his case under a different theory in which
 5   facts available at the original trial now first become important,
 6   will not be granted a new trial.”) (internal citations omitted).
 7        Ultimately, because there is “no reasonable doubt about
 8   guilt [in this case] whether or not the additional evidence [of
 9   Surinder’s drug test] is considered,” there is no justification
10   for a new trial and Chahal’s motion must be denied.         Agurs, 427
11   U.S. at 113.
12        3.   Alleged Brady Violation
13        Finally, as to Chahal’s alternative argument under Brady, to
14   receive a new trial because of a Brady violation, a defendant
15   must show: “(1) the evidence was exculpatory or impeaching;
16   (2) it should have been, but was not produced; and (3) the
17   suppressed evidence was material to his guilt or punishment.”
18   United States v. Antonakeas, 255 F.3d 714, 725 (9th Cir. 2001).
19   Here, the government concedes the evidence of Surinder’s positive
20   drug test is impeachment evidence relating to a government
21   witness, and Chahal is correct that the evidence was not timely
22   produced for Brady purposes.     See Cone v. Bell, 129 S.Ct. 1769,
23   1783 n. 15 (2009).   The government received the information on
24   April 19 and could have produced the results to the defense prior
25   to the conclusion of trial on April 20, but it did not.
26        However, the failure to timely disclose the results is not
27   determinative of the issue because the evidence was not material.
28   “Evidence is material under Brady only if there is a reasonable

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 1   probability that the result of the proceeding would have been
 2   different had it been disclosed to the defense.”         Id.   In this
 3   case, the evidence was not ultimately material to the finding of
 4   guilt.   Surinder testified about his prior, regular drug use.
 5   Any further evidence of his continued drug use, had it been
 6   timely disclosed to the defense, would not have added significant
 7   impeachment material considering, as described above, the
 8   overwhelming, independent evidence of Chahal’s guilt presented at
 9   trial.   See United States v. Inzunza, 638 F.3d 1006, 1021 (9th
10   Cir. 2011) (finding duplicate grounds for impeachment not
11   material under Brady).     Accordingly, the court cannot find a
12   Brady violation in the government’s failure to timely disclose
13   the results of Surinder’s drug test.
14                                  CONCLUSION
15        For all of the foregoing reasons, Chahal’s motion for a new
16   trial is DENIED.    The sentencing hearing is confirmed for
17   September 30, 2011.
18        IT IS SO ORDERED.
19   DATED:   September 23, 2011
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21
                                       FRANK C. DAMRELL, JR.
22                                     UNITED STATES DISTRICT JUDGE
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